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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

. Criminal Case N0. lZ-cr-OO()33-JLK-l
UNITED STATES OF AMERICA,

Plaintiff,

l. JAMSHID MUHTOROV,

Defendant.

 

VERDIC'I` FORM

 

QO_UNL
As to Count l Of the Indictment, Conspiracy to Provide Material Support 0r Resources in
. the form of at least $3()0 to a Foreign Terrorist Organization (lnstruction N0. 18), We the jury
unanimously find the Defendant, Jamshid Muhtorov:

NOT GUILTY

§ GUILTY

COUNT 2
As to Count 2 of the Indictment, Providing, or Auempting to Provide, Material Support
0r Resources in the form of at least $3()0 to a Foreign Terrorist Organization (Instruction N0. 19),

we the jury unanimously find the Defendant, Jamshid Muhtorov:

NOT GUILTY

2§ GUILTY

 

 

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COUNT 3
. As to Count 3 of the Indictment, Providing, or Attempting to Provide, Material Support
or Resources in the form of himself as personnel to a Foreign Terrorist Organization (Instruction
N0. 22), We the jury unanimously find the Defendant, Jamshid Muhtorov:

NOT GUILTY

§ GUILTY

COUNT 4
As to Count 4 of the Indictment, Providing, or Attempting to Provide, Material Support
or Resources in the form of communications equipment and services to a Foreign Terrorist
Organization (Instruction No. 23), We the jury unanimously find the Defendant, Jamshid

Muhtorov:

. X NOT GUILTY
GUILTY

 

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Please sign by Writing your juror number only.

 

PRESIDING JUROR

 

DATEDthiS '2\ day of ougng ,2018.

